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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
LUKE NGUYEN,
Plaintiff, CASE NO.: 3:21-cv-00173-MMH-MCR

Vv.

UNIVERSITY OF ST. AUGUSTINE
FOR HEALTH SCIENCES, LLC.,

Defendant.
/

 

DEFENDANT?’S NOTICE OF FILING IN SUPPORT OF
DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

Defendant, University of St. Augustine for Health Sciences, LLC, gives notice
of filing the below documents in support of Defendant’s Motion for Summary
Judgment, filed on August 10, 2022:

1. May 19, 2022 Deposition of Luke Nguyen and Exhibit Nos. 1, 2, 3, 6,
8, 12, 13, 14, 15, 17, 18, 19, 22, 23, 25, 27, 30, 33, 36;

2. August 7, 2022, Declaration of Dr. Margaret Wicinski;
3. August 9, 2022, Declaration of Lindsay Perry;
4. August 9, 2022, Declaration of Laura Kauffman;

5. August 8, 2022, Declaration of Diane Rondinelli.

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(! day of August 2022.

  

Dated this

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Respectfully submitted,

ALEXANDER DEGANCE BARNETT, P.A.

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Attorneys for Defendant

CERTIFICATE OF SERVICE
I hereby certify that on August b, 2022, I electronically filed the foregoing
with the Clerk of Court by using the CM/ECF system, which will serve the document
electronically by email to the following: Keith Altman,

(keithaltman@kaltmanlaw.com).

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> “T RTTORNEY

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